Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 1 of 6 Page ID #:4470

                       UNITED STATES COURT OF APPEALS
                                                                        FILED
                              FOR THE NINTH CIRCUIT
                                                                        JUL 10 2013
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




   STRIKEPOINT TRADING, LLC, a                 No. 11-56696
   California limited liability company,
                                               D.C. No. 8:07-cv-01073-DOC-MLG
                Plaintiff - Appellee,
                                               U.S. District Court for Central
   and                                         California, Santa Ana

   OPTIONEER, LLC, a Nevada limited                  E
                                               MANDATE
   liability company,                                                   RECEIVED
                                                                 CLERK, U.S. DISTRICT COURT

                Plaintiff,
                                                                         7/10/2013
    v.
                                                              CENTRAL DISTRICT OF CALIFORNIA
   AIMEE SABOLYK, an individual,                                           DLM
   DBA Innovative Option Strategies,                            BY: ___________________ DEPUTY


                Defendant - Appellant,

   and

   GLOBAL ASSET ADVISORS, LLC,
   an Illinois limited liability company and
   JOHN MATTHEW MONDRAGON,

                Defendants.


         The judgment of this Court, entered June 17, 2013, takes effect this date.

         This constitutes the formal mandate of this Court issued pursuant to Rule

   41(a) of the Federal Rules of Appellate Procedure.
Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 2 of 6 Page ID #:4471

                                             FOR THE COURT:
                                             Molly C. Dwyer
                                             Clerk of Court

                                             Rebecca Lopez
                                             Deputy Clerk
Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 3 of 6 Page ID #:4472
                                                                                 FILED
                               NOT FOR PUBLICATION                                JUN 17 2013

                                                                             MOLLY C. DWYER, CLERK
                       UNITED STATES COURT OF APPEALS                          U.S. COURT OF APPEALS



                               FOR THE NINTH CIRCUIT


   STRIKEPOINT TRADING, LLC, a                      No. 11-56696
   California limited liability company,
                                                    D.C. No. 8:07-cv-01073-DOC-
                 Plaintiff - Appellee,              MLG

     and
                                                    MEMORANDUM*
   OPTIONEER, LLC, a Nevada limited
   liability company,

                 Plaintiff,

     v.

   AIMEE SABOLYK, an individual, DBA
   Innovative Option Strategies,

                 Defendant - Appellant,

     and

   GLOBAL ASSET ADVISORS, LLC, an
   Illinois limited liability company; JOHN
   MATTHEW MONDRAGON,

                 Defendants.




           *
                This disposition is not appropriate for publication and is not precedent
   except as provided by Ninth Circuit Rule 36-3.
Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 4 of 6 Page ID #:4473



                      Appeal from the United States District Court
                         for the Central District of California
                       David O. Carter, District Judge, Presiding

                            Argued and Submitted June 7, 2013
                                  Pasadena, California

   Before: GOULD and N.R. SMITH, Circuit Judges, and DU, District Judge.**

         Defendant-Appellant Aimee Sabolyk appeals the district court’s denial of

   her motion for nonsuit and the jury verdict in favor of Plaintiff-Appellee

   StrikePoint. We have jurisdiction under 28 U.S.C. § 1291, and we affirm.

         We construe Sabolyk’s motion for nonsuit as a motion for judgment as a

   matter of law under Federal Rule of Civil Procedure 50(a). Borunda v. Richmond,

   885 F.2d 1384, 1390 n.7 (9th Cir. 1988); Fed. R. Civ. P. 41(b) advisory

   committee’s notes 1937 adoption. To preserve a challenge to the sufficiency of the

   evidence to support the verdict, a party must make both a pre-verdict Rule 50(a)

   motion and a post-verdict Rule 50(b) motion. Nitco Holding Corp. v. Boujikian,

   491 F.3d 1086, 1089 (9th Cir. 2007). Because Sabolyk did not file a timely Rule

   50(b) motion, she is procedurally-barred from appealing the sufficiency of the

   evidence. Id. at 1088.




          **
                 The Honorable Miranda Du, District Judge for the U.S. District Court
   for the District of Nevada, sitting by designation.

                                             2
Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 5 of 6 Page ID #:4474



         We decline to consider Sabolyk’s argument that her claim on appeal is a

   pure issue of law that is not subject to the procedural bar of Rule 50. Sabolyk

   contends that StrikePoint can have no trade-secret property interest in its client list

   because the client list was obtained by fraud. Even if we were to assume that this

   is a purely legal question, Sabolyk has not established that this issue was

   adequately raised before the district court. Jovanovich v. United States, 813 F.2d

   1035, 1037 (9th Cir. 1987). We will not exercise our discretion to consider this

   issue for the first time on appeal. Id. (identifying the “narrow and discretionary

   exceptions to the general rule against considering issues for the first time on

   appeal”).

         We reject Sabolyk’s contention that the jury verdict should be overturned

   because the non-compete agreement she signed with StrikePoint is unenforceable

   under California Business and Professional Code § 16600. California law

   generally prohibits noncompete agreements, but California courts recognize a

   trade-secret exception to that prohibition. See Asset Marketing Sys., Inc. v.

   Gagnon, 542 F.3d 748, 758 (9th Cir. 2008) (“Under California law, non-

   competition agreements are unenforceable unless necessary to protect an

   employer’s trade secret.”).




                                              3
Case 8:07-cv-01073-DOC-MLG Document 255 Filed 07/10/13 Page 6 of 6 Page ID #:4475



         We also reject Sabolyk’s arguments that other provisions of the contract

   were invalid and that the jury instructions were improper. Sabolyk has not shown

   that paragraphs six or seven of the contract were invalid. And even if paragraph

   seven was invalid, she has not established that the jury instructions incorrectly

   stated the law or misled the jury to improperly consider paragraph seven, which

   was not at issue in the case. See White v. Ford Motor Co., 312 F.3d 998, 1012 (9th

   Cir. 2002). The Judgment on Special Verdict After Jury Trial shows that the jury

   found Sabolyk breached the non-compete agreement by soliciting StrikePoint’s

   trade secret clients, implicating paragraph six and not the entire contract.

         AFFIRMED.




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